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Exhibit I
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

KASEY D. ALVES,
Plaintiff,

VS. CAUSE NO.: 1:06cv912 LG-JMR
HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF'S DEPARTMENT;
SHERIFF GHORGE PAYNE, JR.; AND,
HEALTH ASSURANCE, LLC.,

Defendants. -

DEPOSITION
OF
ROBERT N. EHLEUTERIUS
Taken on behalf of the Plaintiff
9:37 a.m., Wednesday, March 12th, 2008
before

Lisa H. Brown, CSR #1166

COAST-WIDE REPORTERS
Court Reporters
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(228) 374-5066

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him.

Q. Have you ever met Mr. Steve Martin?

A. No, sir.

Q. All right. Go to page seven. Second
paragraph, number one, Staff Use of Force. Do you see
that in the middle of the page?

A. I have Security Administration on page seven.

Q. Yeah, right below that.

A. Okay. I'm sorry. Yeah, I see it.

Q. Okay. And then it says, "In the six

previous reports filed since 1997 there was a single
instance in which I reported on a misapplication of
force, chemical agents or restraints."

Do you see that?

A. Yes.

Q. And then, the next sentence says, "As
aforementioned, there were thirty-one incidents of
force in December 2004, which represents a serious
increase in the use of force at HCDC."

Do you see that one?

A. Yes, I do.

Q. Do you remember reading this report and
seeing -- or being informed of this finding in this
report?

A. I do remember being informed about it, yes.

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Q. Did the Board take any action in response to
that report to you?
A. I don't recall if that's one thing that we
may have gone to the District Attorney with or not. I
just don't remember. It's been too long ago.
Q. And then, it says, "In reviewing the use of

force incident packages for November/December 2004, a

very disturbing pattern of misuse of force is

evident."
Do you remember being informed of that
Finding?
A. Yes.
Q. And, again, do you remember if the Board took

any action or response to that?

A. I do not.

QO. And then, it says, "Of the four incidents
summarized below, it should be noted that four of the

same officers were involved in two or more of the four

incidents." Were you made aware of that finding?
A. No, I was not.
Q. Again, when the sheriff submits -- the

sheriff has to submit the hiring of an individual to
the Board for approval; is that correct?
A. Yes.

Q. When the sheriff submits an individual for

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